Case 1:17-cr-20275-UU Document 56 Entered on FLSD Docket 02/08/2019 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 17-cr-20275-UNGARO

 UNITED STATES OF AMERICA,

 vs.

 KEVIN C. FUSCO,
       Defendant.
 ______________________________/

               UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION
                FOR ORDER TO PRODUCE PERSONAL ITEMS SEIZED

        The United States of America, by and through its undersigned Assistant United States

 Attorney, hereby files this response to defendant’s motion for return of personal items seized (DE

 53). The Defendant’s motion requests the return of the following items: three (3) pairs of

 sunglasses; defendant’s clothing and shoes taken during his arrest; one thousand two-hundred

 ($1,200.00) dollars in U.S. currency; two (2) cellular telephones (one Apple iPhone 6 and one

 Alcatel cellphone); one (1) United States passport; one (1) wallet; one (1) backpack; one (1)

 computer case; one (1) laptop computer; and one (1) notebook.

        The United States agrees to return all items to the defendant except for the Apple iPhone 6

 for two reasons. First, the defendant’s iPhone contained evidence of his criminal activity,

 specifically, photos of narcotics and virtual currency utilized during the defendant’s drug

 trafficking activities. Second, on January 10, 2019, the defendant filed a notice of appeal (DE 50).

 Since an appeal is pending, it is the United States’ position that any items of evidentiary value

 should be retained until said appeal concludes.

        The United States requests that the defendant identify an individual who the property

 should be returned to.
Case 1:17-cr-20275-UU Document 56 Entered on FLSD Docket 02/08/2019 Page 2 of 3



       FOR THESE REASONS, the Court should grant in part and deny in part the defendant’s

 motion.

                                                Respectfully Submitted,

                                                ARIANA FAJARDO ORSHAN
                                                UNITED STATES ATTORNEY
                                         By:    /s/ Sharad A. Motiani
                                                SHARAD A. MOTIANI
                                                Assistant United States Attorney
                                                Florida Bar No. 711233
                                                United States Attorney’s Office
                                                99 Northeast 4th Street, Suite 700
                                                Miami, Florida 33132
                                                (305) 961-9392/(305) 536-7213(fax)
                                                Sharad.A.Motiani@usdoj.gov
Case 1:17-cr-20275-UU Document 56 Entered on FLSD Docket 02/08/2019 Page 3 of 3



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that this response was electronically filed via CM-ECF on

 February 8, 2019. I also certify that, on the same day, I caused a true and correct copy of this

 response to be sent by certified mail to the following address: Kevin Fusco, 81314-053, FPC

 Montgomery, Maxwell Air Force Base, Montgomery, AL 36112.

                                     By:     /s/Sharad A. Motiani
                                             SHARAD A. MOTIANI
                                             ASSISTANT UNITED STATES ATTORNEY
